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                   Exhibit 19S
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                                      Fairness Hearing
                                      November 8, 2012


Mr. Roy
Page        Line      Text
22          7-11      Additionally, if there are disputes, if you will, in the mechanisms of the
                      implementation of this settlement that BP and class counsel cannot
                      resolve amicably, Mr. Juneau is empowered, as the administrator, to go
                      directly to the Court and for the Court to settle these issues of policy
22          17 - 18   …this program is bound, and BP agreed to this, to be claimant friendly;…
22          23-24     …the settlement program is mandated to maximize claimant recovery.
22          25        It is mandated to give as much money in the most advantageous
                      application of the Settlement Program’s formula as is possible.
23          12-14     This Settlement Program compensates types of damages that the GCCF
                      did not and that are not even recognized by OPA.
Mr.
Herman
Page        Line      Text
33          18        A perfect example of that is the drawing of the zones. There are
                      complaints that the zones are not fair because the treat people
                      differently.
33          21-24     Well, what if the class settlement treated everyone exactly the same?
                      They would be saying that that’s not fair. I’m a hotel on the coast, and
                      you’re going to treat me the same as construction company in Monroe?
36          1-6       Somebody can always point to an anomaly. Somebody can always say,
                      well, what about this business that’s a few blocks away from that
                      business? But what is significant is that for every line that was drawn, we
                      had the incentive, at every single line, to draw it further and further out,
                      and BP had the incentive to push it back.
Mr.
Godfrey
Page        Line      Text
50          4         …we agreed to enter into two comprehensive and historic settlement
                      agreements designed to fairly and generously compensate the legitimate
                      claims of those who were injured as a result of the oil spill in this tragic
                      casualty.
51          15-18     Now, before the Court today is an extensive detailed evidentiary record
                      against which the fairness, adequacy and reasonableness of the
                      economic loss settlement is to be measured.
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54           18      We believe that it’s fair, just and reasonable, and this process should not
                     be interrupted or stopped based on the objections of the few for the
                     purpose of injuring the many who need to be compensated now.
55           7       …62,020 total claimants thus far have made claims.
66           13-17   We have private expert data. The parties had access to that throughout.
                     Of course, any claimant knows their own data, but we also had GCCF
                     data that was published.
66           20-25   Every time I would sit down with Mr. Rice, I would say that can’t be the
                     way it works, and they’d bring Wally in. He’s an accountant. He’d say
                     I’ve gone through and prepared 800 claims for the GCCF. Let me tell you
                     how it works for the claimants in Alabama, how it works for the
                     claimants in Louisiana, how it works for the claimants in Florida.
67           1-10    I got tired of seeing Wally because every time he came in, Wally would
                     come in with stacks of documents, with financials from all these
                     claimants that the PSC jointly represented. So we not only had experts,
                     we had people on both sides, but particularly the PSC, that had gone
                     through thousands of claim files and could say, no, Mr. Godfrey, we are
                     not going to do what Ms. Bloom wants to do because that’s not the way
                     it works for the beachfront communities who have this type of business.
67           12-13   It was frustrating from my perspective, Your Honor, but they did a very
                     good job.
67           22      We sent experts out. We had experts do drive-bys on wetlands.
68           22      We’re presuming causation for whole sections of the Settlement Class
                     depending on where you reside and the nature of your business.
Mr. Juneau
Page         Line    Text
83                   All of these models and the testing, then, we developed internally. The
                     court-appointed system developed that. We then made that accessible
                     to the plaintiffs. We made that accessible to BP. Both of them did their
                     independent checking. The object, again was, it was our program but if
                     someone saw a bug in the program we have that is inconsistent with
                     what was outlined in the Settlement Agreement we want to know about
                     it.
85                   So the net result is 1.3 plus billion have been processed by this activity
                     since the inception of this program which started on June 4th.
Mr. Roy
Page         Line    Text
159          8       So transparency was critical. To have it transparent, you had to have
                     your compensation and your causation calculation formulas objectively
                     ascertainable. They are. That’s what the Settlement does. If you’ve got
                     the data you plug it in. It will tell you whether or not the BEL model, or
                     what not whether or not you’ve got compensation, whether you’ve got
                     causation and then whether or not you’ve got compensation.
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160                 But the unique thing here is that every claim coming into this program
                    can be objectively determined using the formulas.
Mr.
Godfrey
(Addressing
the Zones)
Page        Line    Text
169         9       It’s not only common sense; it’s economic reality. That’s just the reality.
                    The further north you go the further away from the beaches, the less
                    impact. They were a product of arm’s length negotiations informed by
                    local experts.
169         15      We had people on our team, people on their team, and experts who did
                    the drive-arounds.
169         18-22   Third, the experts have looked at it, they agree. These are experts with
                    deep experience and from the region. Finally, they’re the Zones most
                    likely to have been injured.
